                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:04cr250

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
EDDIE GENE GENTRY (12)                   )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on the retroactive amendments to the United States Sentencing Guidelines relating

to crack cocaine.1 (Doc. No. 621).

       The defendant was sentenced to 120 months’ imprisonment pursuant to the mandatory

minimum sentence prescribed in 21 U.S.C. § 841(b)(1)(B), based on his plea to conspiracy to

possess with intent to distribute 5 grams or more of a mixture and substance containing cocaine

base. (Doc. No. 17: Information; Doc. No. 104: Indictment; Doc. No. 203: Plea Agreement; Doc.

No. 448: Judgment; Doc. No. 449: Statement of Reasons). Accordingly, the change in the

guidelines does not affect the defendant’s sentence. Neal v. United States, 516 U.S. 284, 296

(1996) (retroactive amendment to guidelines does not alter statutory mandatory minimum).

       IT IS, THEREFORE, ORDERED that the defendant’s motion (Doc. No. 619) is

DENIED.

       IT IS FURTHER ORDERED that the government’s motion to extend the deadline to

respond (Doc. No. 621) is DENIED as moot.


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         The government has requested an extension of the deadline to file a response to the
motion. (Doc. No. 621). It plainly appears that the defendant is not entitled to relief; therefore,
the government’s motion will be denied as moot.


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       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                 Signed: December 9, 2008




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